         Case 2:18-cv-06754-MWF-PVC Document 353 Filed 09/13/22 Page 1 of 6 Page ID #:10160




                   1   Gary A. Meyer SBN 94144
                       Pedram Mazgani SBN 204808
                  2    PARKER, MILLIKEN, CLARK,
                       O’HARA & SAMUELIAN
                       O'HARA
                  3    A Professional Corporation
                                          30th Floor
                       555 S. Flower St., 30th
                  4    Los Angeles, California 90071-2440
                       Telephone: (213) 683-6500
                   5   Facsimile: (213) 683-6669
                       gmeyer@pmcos.com
                   6   pmazgani@pmcos.com
                       pmazganigpmcos.com
                   7   Attorneys for Defendant, Counter-
                       Claimant, Cross-Claimant, Cross-
                   8   Defendant, Counter-Defendant and
                       Third-Party Plaintiff Occidental
                   9   Chemical Corporation, a New York
                       Corporation
                  10
                                           UNITED STATES DISTRICT COURT
                  11
                                         CENTRAL DISTRICT OF CALIFORNIA
                  12
                       L.A. TERMINALS, INC., a              Case No. 2:18-cv-06754-MWF (PVCx)
                  13   California corporation,
                  14              Plaintiff,                JOINT STIPULATION FOR LEAVE
                             v.                             TO TAKE THE DEPOSITION OF
                  15                                        JOSEPH E. ODENCRANTZ, PH.D.,
                                                                                  PH.D.,
                       CITY OF LOS ANGELES, a               AFTER THE EXPERT DISCOVERY
                  16                                        CUT-OFF
                       Municipal corporation, and
                  17   OCCIDENTAL CHEMICAL
                       CORPORATION, a New York              Courtroom: 5A (First Street Courthouse)
                  18   corporation, and UNION PACIFIC       Judge:   Hon. Michael W. Fitzgerald
                       RAILROAD COMPANY, a
                  19   Delaware Corporation,                Date Filed: August 6, 2018
                                  Defendants.               Trial Date: March 14, 2023
                  20
                  21
                       AND RELATED CROSSCLAIMS,
                  22   COUNTERCLAIMS AND THIRD-
                       PARTY COMPLAINTS
                  23
                  24
                  25
                  26
                  27
PARKER MILLIKEN
                  28
CLARK O'HARA
      O’HARA &
  SAMUELIAN, A                                               1
 PROFESSIONAL
 CORPORATION           JOINT STIPULATION FOR LEAVE TO TAKE THE DEPOSITION OF JOSEPH E. ODENCRANTZ,
                                        PH.D., AFTER THE EXPERT DISCOVERY CUT-OFF
         Case 2:18-cv-06754-MWF-PVC Document 353 Filed 09/13/22 Page 2 of 6 Page ID #:10161




                   1           This Stipulation is made and entered into by and between L.A. Terminals,
                  2    Inc. ("LAT"),
                            (“LAT”), Occidental Chemical Corporation ("Occidental"),
                                                                     (“Occidental”), City of Los
                  3            (“City”), Union Pacific Railroad Company ("Union
                       Angeles ("City"),                                (“Union Pacific”),
                                                                                Pacific"), Phillips 66
                  4    Company ("Phillips
                               (“Phillips 66"),
                                          66”), Union Oil Company of California ("Union
                                                                                (“Union Oil"),
                                                                                        Oil”),
                   5   Olympic Chemical Corporation ("Olympic"),
                                                    (“Olympic”), Wausau General Insurance Company,
                   6   intervening on behalf of Defendant Ash-Cross Evans Corporation ("Wausau"),
                                                                                      (“Wausau”), and
                   7   Soco West, Inc. ("Soco
                                       (“Soco West")
                                              West”) (collectively the "Parties")
                                                                       “Parties”) to jointly seek an order
                   8   allowing the Parties to complete the deposition of Occidental's
                                                                          Occidental’s expert witness,
                   9   Joseph E. Odencrantz, Ph.D. ("Dr.
                                                   (“Dr. Odencrantz”)
                                                         Odencrantz") after the expert discovery cut-off
                  10   in this action.
                  11           WHEREAS, on February 27, 2020, this Court issued an Order Re Jury Trial
                  12   I. Order Re Deadlines II. Order Re Trial Preparation III. Order Governing Conduct
                  13   Of Attorneys And Parties ("Order
                                                (“Order re Jury Trial"),
                                                                Trial”), which set an expert discovery
                  14   cut-off of September 30, 2022 (Dkt. 291);
                  15           WHEREAS, the Parties have diligently conducted expert discovery in this
                  16   action, including over 20 days of expert depositions expected to be completed
                  17   through the end of this month;
                  18           WHEREAS, the deposition of Dr. Odencrantz commenced on August 10,
                  19   2022;
                  20           WHEREAS, by agreement of the Parties, the deposition of Dr. Odencrantz
                  21   was scheduled to continue on August 29, 2022, but was later scheduled to continue
                  22   on September 27, 2022, due to the deponent's
                                                         deponent’s illness;
                  23           WHEREAS, Dr. Odencrantz was recently diagnosed with an Epstein-Barr
                  24   viral infection, has been ordered to rest under the supervision of his treating
                  25   physician, and is unable to appear for a deposition prior to the September 30, 2022,
                  26   expert discovery cut-ff. See, attached Declaration of Dr. Caroline Hwang, MD,
                  27   MMM, attached hereto as Exhibit A;
PARKER MILLIKEN
CLARK O'HARA
      O’HARA &
                  28           WHEREAS, all of the Parties to this2 action have expressed a willingness to
  SAMUELIAN, A                                                     2
 PROFESSIONAL
 CORPORATION            JOINT STIPULATION FOR LEAVE TO TAKE THE DEPOSITION OF JOSEPH E. ODENCRANTZ,
                                         PH.D., AFTER THE EXPERT DISCOVERY CUT-OFF
         Case 2:18-cv-06754-MWF-PVC Document 353 Filed 09/13/22 Page 3 of 6 Page ID #:10162




                   1   postpone the deposition of Dr. Odencrantz until after the expert discovery cut-off of
                  2    September 30, 2022, and until such time that Dr. Odencrantz is physically fit to
                  3    complete his deposition, and an additional thirty (30) days thereafter to address any
                  4    discovery disputes that may arise in connection with Dr. Odencrantz's
                                                                                Odencrantz’s deposition;
                   5         WHEREAS, based on the number and complexity of opinions and issues,
                   6   and the number of parties in this action, the Parties currently anticipate that it will
                   7   take two more days to complete the deposition of Dr. Odencrantz;
                   8         WHEREAS, the Parties further agreed to extend by stipulation the period of
                   9   time Dr. Odencrantz has to review and make corrections to volume 1 of his
                  10   deposition transcript by an additional thirty (30) days;
                  11         WHEREAS, the Parties agree to work in good faith to complete Dr.
                  12   Odencrantz’s
                       Odencrantz's deposition by the end of October, 2022, Dr. Odencrantz's
                                                                                Odencrantz’s health
                  13   permitting, and are hereby agreeing to extend the expert discovery cut-off deadline
                  14   until October 31, 2022 to complete Dr. Odencrantz's
                                                              Odencrantz’s deposition, and by an
                  15   additional thirty (30) days thereafter to resolve any discovery disputes related
                  16   thereto;
                  17         WHEREAS, completing Dr. Odencrantz’s
                                                     Odencrantz's deposition after the expert
                  18   discovery cut-off will not necessitate the continuance of any other pre-trial or trial
                  19                    Court’s Order re Jury Trial;
                       deadlines in the Court's
                  20         NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by
                  21   and between the Parties, through the undersigned counsel, as follows:
                  22         1.     The continued deposition of Occidental Chemical Corporation’s
                                                                                    Corporation's expert
                  23                witness, Joseph E. Odencrantz, Ph.D., may be taken after the
                  24                September 30, 2022 expert discovery cut-off in this action up until
                  25                October 31, 2022, and the expert discovery cut-off deadline is to be
                  26                extended an additional thirty (30) days after the completion of the
                  27                Odencrantz deposition solely for purposes of allowing any related
PARKER MILLIKEN
CLARK O'HARA
      O’HARA &
                  28                discovery disputes to be resolved.
  SAMUELIAN, A                                                     3
 PROFESSIONAL
 CORPORATION            JOINT STIPULATION FOR LEAVE TO TAKE THE DEPOSITION OF JOSEPH E. ODENCRANTZ,
                                         PH.D., AFTER THE EXPERT DISCOVERY CUT-OFF
         Case 2:18-cv-06754-MWF-PVC Document 353 Filed 09/13/22 Page 4 of 6 Page ID #:10163




                   1   IT IS SO STIPULATED.
                  2                                         RUTAN & TUCKER, LLP
                  3
                       Dated: September 12, 2022            By: /s/ Richard Montevideo
                  4                                             Richard Montevideo
                                                                Travis H. Van Ligten
                   5                                           Attorneys for L.A. Terminals, Inc.
                                                                and Soco West, Inc.
                   6
                   7
                   8                                        PARKER, MILLIKEN, CLARK,
                                                            O’HARA
                                                            O'HARA & SAMUELIAN
                   9
                  10   Dated: September 12, 2022            By: /s/ Gary A. Meyer
                                                                Gary A. Meyer
                  11                                            Pedram Mazgani
                                                                Attorneys for Occidental Chemical
                  12                                            Corporation
                  13
                  14                                        MICHAEL N. FEUER, City Attorney
                  15                                        Steven Y. Otera, General Counsel
                                                            Kenneth F. Mattfeld, Assistant
                  16                                        Janet L. Karkanen, Deputy
                  17                                        Brian A. Daluiso, Deputy
                  18   Dated: September 12, 2022            By: /s/ Brian A. Daluiso
                  19                                            Brian A. Daluiso
                                                               Attorneys for The City of Los
                  20                                           Angeles, acting by and through its
                                                                Board of Harbor Commissioners
                  21
                  22
                                                            BOOTH LLP
                  23
                  24   Dated: September 12, 2022            By: /s/ Joshua N. Levine
                                                                Joshua N. Levine
                  25                                           Attorneys for The City of Los
                                                               Angeles
                  26
                  27
PARKER MILLIKEN
CLARK O'HARA
      O’HARA &
                  28
  SAMUELIAN, A                                              4
 PROFESSIONAL
 CORPORATION           JOINT STIPULATION FOR LEAVE TO TAKE THE DEPOSITION OF JOSEPH E. ODENCRANTZ,
                                        PH.D., AFTER THE EXPERT DISCOVERY CUT-OFF
         Case 2:18-cv-06754-MWF-PVC Document 353 Filed 09/13/22 Page 5 of 6 Page ID #:10164




                   1
                                                            FARELLA BRAUN + MARTEL LLP
                  2
                  3    Dated: September 12, 2022            By: /s/ Sarah Peterman Bell
                                                                Sarah Peterman Bell
                  4                                             R. Christopher Locke
                                                                Linda Sobczynski
                   5                                           Attorneys for Union Pacific Railroad
                                                                Company
                   6
                   7
                   8                                        BARNES AND THORNBURG LLP

                   9   Dated: September 12, 2022            By: /s/ Joel R. Meyer
                  10                                            David C. Allen
                                                                Joel R. Meyer
                  11                                            Joseph M. Wahl
                                                               Attorneys for Olympic Chemical
                  12                                            Corporation

                  13
                  14                                        STEPHEN THOMAS ERB, APC
                  15   Dated: September 12, 2022            By: /s/ Stephen T. Erb
                  16                                            Stephen T. Erb
                                                                Attorneys for Phillips 66 Company
                  17
                  18
                                                            ROPERS MAJESKI PC
                  19
                  20   Dated: September 12, 2022            By: /s/ Michael T. Ohira
                                                                Tim Agajanian
                  21                                            Michael T. Ohira
                                                               Attorneys for Wausau General
                  22                                            Insurance Company, intervening on
                                                               behalf of Defendant Ash-Cross Evans
                  23                                            Corporation
                  24
                  25
                  26
                  27
PARKER MILLIKEN
CLARK O'HARA
      O’HARA &
                  28
  SAMUELIAN, A                                              5
 PROFESSIONAL
 CORPORATION           JOINT STIPULATION FOR LEAVE TO TAKE THE DEPOSITION OF JOSEPH E. ODENCRANTZ,
                                        PH.D., AFTER THE EXPERT DISCOVERY CUT-OFF
         Case 2:18-cv-06754-MWF-PVC Document 353 Filed 09/13/22 Page 6 of 6 Page ID #:10165




                   1
                                                                   ROGERS JOSEPH O'DONNELL
                                                                                 O’DONNELL
                  2
                  3    DATED: September 12, 2022                   By: /s/ Jon-Erik W. Magnus
                                                                   By•
                                                                       Robert C. Goodman
                  4                                                    Jon-Erik W. Magnus
                                                                       Attorneys for Union Oil Company Of
                   5                                                   California
                   6
                   7                                     ATTESTATION
                   8         Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all of the other
                   9   signatories listed on whose behalf this filing is submitted, concurring in the filing’s
                                                                                                      filing's
                  10   content and have authorized the filing.
                  11
                  12   DATED: September 12, 2022                   By: /s/ Gary A. Meyer
                  13                                                   Gary A. Meyer
                                                                       Pedram Mazgani
                  14                                                  Attorneys for Occidental Chemical
                                                                       Corporation
                  15
                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
PARKER MILLIKEN
CLARK O'HARA
      O’HARA &
                  28
  SAMUELIAN, A                                                     6
 PROFESSIONAL
 CORPORATION            JOINT STIPULATION FOR LEAVE TO TAKE THE DEPOSITION OF JOSEPH E. ODENCRANTZ,
                                         PH.D., AFTER THE EXPERT DISCOVERY CUT-OFF
